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EXHIBIT A

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Term Sheet For Joint Plan Supported By Debtors, Official Committee Of Unsecured
Creditors, Oaktree, Angelo Gordon, and JPMorgan And Endorsed By Mediator

Plan Proponents

Debtors, Oaktree, Angelo Gordon, JPMorgan, and the Committee

Plan Settlements

Partial Settlements of “Step One” and “Step Two” LBO-Related
Causes of Action in exchange for (a) approximately $402 million in
reallocation of value away from holders of Senior Loan Claims; and
(b) $120 million in cash from the “Step Two Disgorgement Settlement”
described below.

Senior Loan Claims
Against Tribune

Estimated Recovery Percentage on Effective Date: 1.08%!
Dollar Value of Recovery on Effective Date: $92.4 million
Form of Recovery:

e Allowed in full and eligible to receive distributions, without
reduction, offset, counterclaim or subordination. Distributions
made ratably to the holders of all tranches of Senior Loans.

e New Common Stock, New Senior Secured Term Loan,
Distributable Cash.

e Litigation Trust Interests (allocated as described below).

Senior Loan
Guaranty Claims
Against Subsidiaries

Estimated Recovery Percentage on Effective Date: 62.50%
Dollar Value of Recovery on Effective Date: $5.452 billion

(Including Guaranty | Form of Recovery:

Of Swap Claim) e Allowed in full and eligible to receive distributions, without
reduction, offset, counterclaim or subordination. Distributions
made ratably to the holders of all tranches of Senior Loans.

e New Common Stock, New Senior Secured Term Loan,
Distributable Cash.
Bridge Loan Claims | Estimated Recovery Percentage on Effective Date: 0%
And Bridge Loan

Guaranty Claims

Dollar Value of Recovery on Effective Date: $0
Disputed: Subject to objection by the Litigation Trust.

e To the extent any Bridge Loan Claims are allowed, Bridge Loan
Claims held by the Step Two Arrangers (as defined below) or their
affiliates will receive no worse treatment than other Bridge Loan
Claims unless otherwise agreed by the Step Two Arrangers.

Form of Recovery:

e Reserve of $77.7 million in cash held and distributed if Bridge
Loan Claims are allowed.

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Recovery percentages for Senior Loan and Senior Loan Guaranty Claims, as well as amount of the reserve for

Bridge Loan Claims, are based on the mid-point Distributable Value set forth in the Disclosure Statement for
the Debtors’ Amended Joint Plan of Reorganization dated June 4, 2010.

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Senior Noteholder Estimated Recovery Percentage on Effective Date: 32.73%
Claims Dollar Value of Recovery on Effective Date: $420 million
Form of Recovery:
e $420 million in cash.
e Litigation Trust Interests (allocated as described below).
PHONES Notes Estimated Recovery Percentage on Effective Date: 0%
aims

Dollar Value of Recovery on Effective Date: $0

Form of Recovery: Litigation Trust Interests (allocated as described
below), redistributed until contractually senior creditors are paid in full.

EGI-TRB LLC Notes

Estimated Recovery Percentage on Effective Date: 0%
Dollar Value of Recovery on Effective Date: $0

Form of Recovery: Litigation Trust Interests (allocated as described
below), redistributed until contractually senior creditors are paid in full.

Other Parent Estimated Recovery Percentage on Effective Date: 35.18% (Option 1)
General U d . eye .
Claims (Including Dollar Value of Recovery on Effective Date: $93.1 million (Option 1)
Swap Claim Against | Form of Recovery:
Tribune) e Option 1: 35.18% in cash.
e Option 2: (a) 32.73% in cash; and (b) Litigation Trust Interests
(allocated as described below).
e Retiree claims will be allowed as set forth in the Retiree
Claimant Settlement Agreement (as defined in Debtors’
Amended Joint Plan of Reorganization dated June 4, 2010) and
eligible to receive distributions, without reduction, offset,
counterclaim or subordination
Subsidiary General Recovery Percentage on Effective Date: 100%

Unsecured Claims

Dollar Value of Recovery on Effective Date: $85 million
Form of Recovery: cash payment in full (without postpetition interest).

Tribune Equity

No recovery.

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Step Two “Disgorgement Claims” means claims against any current or former
Disgorgement holder of Senior Loans and/or Bridge Loans for disgorgement of
Settlement principal, interest and fees paid on account of the Incremental Term

Loan B tranche of the Senior Loan Agreement and/or the Bridge Loan
Agreement (collectively, the “Step Two Loans”).

The Plan will constitute an offer to settle (the “Step Two/Disgorgement
Settlement”) (a) the Disgorgement Claims; and (b) claims against
JPMorgan, Merrill Lynch, Bank of America and Citigroup and each of
their respective affiliates (the “Step Two Arrangers”) each in their
capacity as agents and arrangers of the Step Two Loans, for an
aggregate of $120 million, made up of (a) in the case of recipients of
payments on the Incremental tranche, their pro rata share (based on
amounts received) of $63,269,787, and (b) in the case of recipients of
payments on the Bridge Loan, their pro rata share (based on amounts
received) of $56,730,213.

Amounts allocable to payment recipients that do not participate in the
settlement will be advanced by the Step Two Arrangers as agreed
among the Step Two Arrangers so that the estate will receive $120
million in cash on the plan effective date, subject to reimbursement
from the proceeds of Litigation Trust recoveries in respect of the
Disgorgement Claims.

Lenders that participate in the Step Two Disgorgement Settlement will
waive any right to assert additional Senior Loan or Bridge Loan Claims
in excess of those Claims currently held by such Lenders on account of
the settlement payments; provided, however, that nothing herein shall
limit the provisions set forth in the first bullet of the section labeled
“Bridge Loan Claims And Bridge Loan Guaranty Claims” above.

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Litigation And
Creditors Trust
(The “Trusts”)

Except for claims released under the Plan (as summarized below),
all estate-owned LBO-Related Causes of Action not transferred to
the creditors’ trust will be assigned to a litigation trust.

Except for claims released under the Plan (as summarized below),
all LBO-Related Causes of Action arising under state avoidance
law will be assigned by creditors to a separate creditors’ trust.

“Transferred Claims” means the claims assigned to the Trusts as
set forth above.

The Trusts will be funded with a $20 million loan from
Reorganized Tribune, with the Trusts jointly and severably liable
for repayment of the loan.

The Trusts will be governed by one or more boards consisting of
members of the Committee.

Except as provided with respect to recoveries on Disgorgement
Claims as set forth below, the net proceeds of recoveries on the
Transferred Claims shall be allocated as follows:

o First $90 million on a pro rata basis to holders of Senior
Noteholder Claims, Other Parent General Unsecured Claims
selecting Option 2, PHONES Notes Claims, and EGI-TRB
LLC Notes (if allowed) (collectively, the “Non-Senior Loan
Claims”), with PHONES and EGI-TRB subordination enforced
until contractually senior creditors are paid in full.

Next $20 million to repay the loan from Reorganized Tribune.

o Remaining proceeds split 65% to holders of Non-Senior Loan
Claims on a pro rata basis and 35% to holders of Senior Loan
Claims, in each case with PHONES and EGI-TRB
subordination enforced until contractually senior creditors are
paid in full.

First recoveries on Disgorgement Claims shall be used to repay the
Step Two Arrangers for any Step Two/Disgorgement Settlement
amounts advanced for non-settling parties. The agreements
governing the Trusts will provide for (i) an allocation of the cost of
pursuing Disgorgement Claims between the general expenses of
the Trusts and the recoveries on Disgorgement Claims; and

(ii) procedures for control of any legal proceedings and/or
settlements in respect of Disgorgement Claims, in each case on a
basis satisfactory to both the Committee and the Step Two
Arrangers.

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Releases,
Contribution Bar
and Judgment
Reduction

Releases: All estate-owned LBO-Related Causes of Action against the
entities set forth below, other than claims for disallowance of the
Bridge Loan Claims and Disgorgement Claims against non-settling
parties, will be released:

1.

Current and former holders of Senior Loan Claims and Bridge Loan
Claims and their respective affiliates in their capacities as such, but
not in their capacities (if any) as holders of common stock of
Tribune redeemed in connection with the “Step Two” transactions
consummated in December 2007.

Holders of common stock of Tribune redeemed in connection with
the “Step One” transactions consummated in June 2007, in their
capacities as such.

Agents and arrangers of the Senior Loans and the Bridge Loans that
participate in the Step Two/Disgorgement Settlement and their
respective affiliates in their capacities as agents, arrangers, and
recipients of payments but not in their capacities (if any) as
advisors.

Contribution Bar and Judgment Reduction. The plan will include a
contribution bar and judgment reduction provisions with respect to all
claims released under the Plan.

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